74 F.3d 1235NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Steven Charles WILLIAMS, Plaintiff-Appellant,v.Monique EPPERSON, Medical Supervisor, Defendant-Appellee.
    No. 95-7248.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  December 14, 1995.Decided:  January 17, 1996.
    
      Steven Charles Williams, Appellant Pro Se.  Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, VA, for Appellee.
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Williams v. Epperson, No. CA-95-42 (E.D.Va. Aug. 8, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    